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                            United States District Court
                            Eastern District of Michigan
                                 Southern Division

United States of America,

             Plaintiff,                             Criminal No. 19-cr-20026
v.
                                                   Hon. Gershwin A. Drain
D-1 Bharath Kakireddy,

             Defendant.


     Unopposed Combined Application for Entry of Preliminary Order of
                 Forfeiture and Brief in Support Thereof


      The United States applies to this Court for entry of a Preliminary Order of

Forfeiture. In support of this Application, the government states the following:

                                        Background

      The United States filed an Indictment on January 15, 2019, which charges

defendant with Conspiracy to Commit Visa Fraud and Harbor Aliens for Profit, in

violation of 18 U.S.C. § 371. The Indictment contains forfeiture allegations

providing, inter alia, notice that upon conviction of the alleged offenses, the

defendant shall forfeit to the United States, under 18 U.S.C. § 982(a)(6) and/or

under 18 U.S.C. § 981(a)(1)(C) together with 28 U.S.C. § 2461(c) his right, title,

and interest in any property, real or personal, which constitutes, or is derived from,

or is traceable to proceeds of the commission of the offense, and all property, real
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or personal, which was used to facilitate or intended to be used to facilitate, the

commission of the offense.

      The United States filed a Forfeiture Bill of Particulars on May 1, 2019 (Dkt.

No. 70), pursuant to Federal Rule of Criminal Procedure 7(f), to provide notice to

the defendant of the following specific property the Government intends to forfeit

upon conviction:

          • Forty-five dollars and ten cents ($45.10) U.S. Currency seized from

             Bank of America Account Number XXXXXXXX0175 in the name of

             Bharath Kakireddy;

Notice was also provided that the United States intends to seek the imposition of

personal forfeiture money judgment against defendant Bharath Kakireddy, in favor

of the United States, in the amount of $32,454.90. The forfeiture money judgment

represents the proceeds obtained by defendant as a result of his offense, minus the

$45.10 in U.S. currency already seized from defendant’s bank account.

                                    Basis for Forfeiture

      On May 2, 2019, defendant entered a guilty plea to the Indictment charging

him with Count One, Conspiracy to Commit Visa Fraud and Harbor Aliens for

Profit, in violation of 18 U.S.C. § 371. Pursuant to Federal Rule of Criminal

Procedure 32.2(b)(1)(B), in determining what property should be forfeited, the

Court may rely on “evidence already in the record, including any written plea
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agreement, and on any additional evidence or information submitted by the parties

and accepted by the court as relevant and reliable.”

      At the plea hearing defendant admitted he received “approximately $30,000”

in exchange as a result of his violation of Count One of the Indictment. (Dkt. 78 at

18-19, plea transcript). The parties agree with the presentence report conclusion

that the specific amount obtained by defendant as a result of his offense, was

$32,500. (Presentence Investigation Report at paragraph 21). The government

further submits, and defendant does not oppose, that the Forty-five dollars and ten

cents ($45.10) in U.S. Currency seized from Bank of America Account Number

XXXXXXXX0175 in the name of Bharath Kakireddy is forfeitable to the United

States as proceeds of defendant’s violation of Count One of the Indictment.

                   Rule 32.2: Entry of Preliminary Order of Forfeiture

      Pursuant to Fed. R. Crim. P. 32.2, and consistent with defendant’s guilty

plea, the Government seeks entry of a Preliminary Order of Forfeiture for a

forfeiture money judgment against defendant Kakireddy in favor of the United

States in the amount of $32,454.90, which is an amount that constitutes, or was

derived from, gross proceeds obtained, directly or indirectly, from Defendant

Kakireddy’s violation of Count One of the Indictment, minus the $45.10 in funds

seized from defendant’s bank account.
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        With regard to forfeiture, Federal Rule of Criminal Procedure 32.2 provides,

in relevant part, that:

              As soon as practical after…a plea of guilty…is accepted, on any count
              in an indictment or information regarding which criminal forfeiture is
              sought, the court must determine what property is subject to forfeiture
              under the applicable statute…

Rule 32.2(b)(1)(A). Federal Rules of Criminal Procedure 32.2(b)(1)(B) further

provides that “[t]he court’s determination may be based on evidence already in the

record, including any written plea agreement…”

        Rule 32.2 also provides for entry of a preliminary order of forfeiture, stating

that,

              If the court finds that property is subject to forfeiture, it must
              promptly enter a preliminary order of forfeiture…directing the
              forfeiture of specific property. The court must enter the order without
              regard to any third party’s interest in the property. Determining
              whether a third party has such an interest must be deferred until any
              third party files a claim in an ancillary proceeding under Rule 32.2(c).

Fed. R. Crim. P. 32.2(b)(2)(A).

        Rule 32.2 provides for the timing the preliminary order of forfeiture, as

follows:

              Unless doing so is impractical, the court must enter the preliminary
              order sufficiently in advance of sentencing to allow the parties to
              suggest revisions or modifications before the order becomes final as to
              the defendant...

Fed. R. Crim. P. 32.2(b)(2)(B).
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      Defendant’s sentencing date is August 22, 2019, making it appropriate for

the Court to enter a Preliminary Order of Forfeiture with regard to the Subject

Property and forfeiture money judgment at this time. Any claims by third parties

to the Subject Property shall be resolved under the procedures set forth in 21

U.S.C. § 853(n), as stated in the proposed Preliminary Order of Forfeiture

submitted concurrently herewith. Fed. R. Crim. P. 32.2(b)(2)(A), (c).

      Pursuant to Local Rule 7.1, the undersigned government attorney consulted

with defendant’s attorney, David S. Steingold, and provided a copy of this

Application and the proposed Preliminary Order of Forfeiture via e-mail. Mr.

Steingold advised government counsel that he has no objection to the Application

and proposed preliminary order of forfeiture.

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                                        Conclusion

       Pursuant to Federal Criminal Procedure 32.2, and based upon defendant’s

guilty plea, the Indictment, the Forfeiture Bill of Particulars, and information

contained in the record, the United States respectfully requests that the Court enter

the Preliminary Order of Forfeiture, which will be submitted to the Court via ECF

utilities.

                                              Respectfully submitted,

                                              Matthew Schneider
                                              United States Attorney

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Dated: August 21, 2019
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                              Certificate of Service

      I hereby certify that on August 21, 2019, the foregoing was electronically

filed using the ECF system which will send notification of such filing to all ECF

participants.


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